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 6                     IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Tanya Hamm,                                      No. CV-17-03821-PHX-JJT
10                 Plaintiff,                         ORDER
11   v.
12   Equifax Information Services LLC, et al.,
13                 Defendants.
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15         At issue is the parties’ Stipulation for Dismissal with Prejudice of Defendant Trans
16   Union, LLC (Doc. 64). Upon consideration and good cause appearing,
17         IT IS ORDERED granting parties’ Stipulation for Dismissal of Defendant Trans
18   Union, LLC (Doc. 64). Trans Union, LLC is dismissed with prejudice. As Trans Union,
19   LLC was the final remaining defendant,
20         IT IS FURTHER ORDERED directing the Clerk of Court to close this case.
21         Dated this 3rd day of January, 2019.
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23
                                            Honorable John J. Tuchi
24                                          United States District Judge
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